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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )
                                          )                   Criminal No. 21-28-11 (APM)
ROBERTO A. MINUTA,                        )
                                          )
      Defendant.                          )
_________________________________________ )

                                             ORDER

       Defendant Roberto Minuta, without opposition from the United States, asks to seal his

Motion to Dismiss in its entirety. See Consent Mot. to File Mot. to Dismiss Under Seal, ECF

No. 379 [hereinafter Def.’s Mot.]. In determining whether a sealing request overcomes the

presumption of public access to court proceedings, the court must apply the six factors announced

in United States v. Hubbard, 650 F.2d 293, 316–22 (D.C. Cir. 1980). Defendant does not analyze

the Hubbard factors, but instead asks to deny public access because his “motion references highly

sensitive discovery that the public should not be privy to.” Def.’s Mot. at 1. It is unclear to the

court what “highly sensitive” material the motion contains, and Defendant’s conclusory assertion

will not do.

       The Hubbard factors decidedly weigh against Defendant’s unqualified sealing request.

This is a criminal matter of substantial public interest, so the need for public access is great. See

Hubbard, 650 F.2d at 317–18. That is particularly true here where the basis for the motion to

dismiss is alleged government misconduct. Although the information in the motion has not

previously been made public and no party objects to sealing, see id. at 318–20, those factors do

not weigh heavily against disclosure when, as here, the need for public access is so strong. The
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motion, except as noted below, contains no material that would implicate a person’s privacy

interests, id. at 320, and the prejudice that Defendant might suffer from public disclosure appears

remote, id. at 321. Finally, the purpose for which the motion was submitted—to dismiss an

indictment—favors disclosure. Id. at 321–22. On balance then, the Hubbard factors clearly favor

denying the motion to seal.

       The only exception to this conclusion is certain information contained in Exhibit 1 to

Defendant’s motion. Def.’s Mot., Ex. 1, ECF No. 379-3. That Exhibit contains the names of

individuals other than Defendant, including law enforcement officials; the birth dates of some of

those individuals; and the name and address of Defendant’s place of business. That specific

information implicates privacy interests and public safety concerns that outweigh the public’s right

of access.

       Accordingly, the court grants in part and denies in part Defendant’s motion to seal.

Defendant’s motion filed at ECF No. 379 shall remain under seal; however, by September 7, 2021,

Defendant shall refile the motion on the public record except for the private information identified

above, which shall be redacted.




Dated: September 3, 2021                                    Amit P. Mehta
                                                     United States District Court Judge




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